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INVESTGATION REPORT
Assigned: Det. Joseph George #8043 IDIS Phila PD.

CO-Assigned: TFO D. Kiddie (Bucks Co/DEA), Det. M. Tobbie
(Bensalem PD) & Det. D. Muragia NJSP

A. TARGETS
The target of this investigation is MATT (Mack) JONES, who resides at 108 Federal

. Street Bensalem Pa and old address of 4233 Greeby Street, Philadelphia, Pennsylvania.

b)

Matt (MACK) JONES, 35yrs, black male, DOB; 12/17/1982. According to the Criminal.
History Repository is assigned PID- 0896070, SID-28656556 & FBI #49483 OTB1. JONES ©

"has eleven (11) prior arrest under PID- 0896070, eight (8) of the arrest are narcotic related.

According. to the Pennsylvania Bureau of Motor Vehicles is assigned a driver’s license
number 26719687 with an address of 4233 ‘Greeby Street, Philadelphia, Pennsylvania,

19135.
Taylor N. WOOD 23yrs; black female, dob- 07/02/1995, with aNew J ersey DMV address:

a Criminal History check is negative at this

time. WOOD is operating the gray 2008 Honda Accord bearing New Jersey registration

_ G50-GBX. According to. the New Jersey, Bureau of Motor Vehicles, the 2008 Honda

Accord is registered to Taylor N. WOOD a

‘Carol Njeri LUCY (CAROL); 30yrs, black female, DOB: 07/13/1987 and address 1751

Foster Street, Apartment C8B, Philadelphia, PA. According to. the Criminal History
Repository is assigned NY STD-12565204M & FBI #555936XD1. LUCY has one (1) prior

' arrest for DUI.”

B. PROBABLE CAUSE

In January 2018, Detective Douglas Muraglia from the New Jersey State Police (NI SP)
Gangs and Organized Crime unit received information from a NISP cooperating source,
(NJ SP #CS- 2047-00842 / herein. after referred to as CI) that a female named “Carol”
Gdentified as Carol Nieti LUCY); who resides in Philadelphia, PA, is working for an

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“New J ersey State Police (NJ SP):that Carol Nj eri LUCY (CAROL) returned from Africa

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located at Red Lion & Roosevelt Blvd. JONES left the parking lot, +o, then entered the
parking lot across the street in front of the Planet Fitness Center (3:35PM / 9950 E.
Roosevelt Blvd). - a

At approximately 3:37 PM, Det George observed a black male exit a blue in color Toyota
Camry bearing Maryland registration 6CV-6697 (reg owner: Hertz Corp LLC to BWI

Airport Baltimore to 2017 Toyota), this ‘male entered JONES’s Buick in the front passenger

side. Approximately 2 minutes: jater this male exits the Buick, Det. George observed this.

male place an unknown object into his front right pocket and re-entered the blue Toyota
and left the area N/B on the Blvd, was lost. due to traffic. JONES was followed by officers.
NOTE: Based on Det. George experience. in narcotics, it is believed by Det George that -
this meeting was consisted with a drug transaction. |

At approximately 3:55 PM, J ONES was followed to and arrived at 108 Federal Street
Bensalem Pa., (Waterside Real Estate Development located to'2375 State Rd Bensalem Pa
19020) parked and entered 108 Federal Street (Officers believed that JONES i is now living
at this location).

On Tuesday June 26, 2018, Det George was informed by Det. Douglas Muraglia from the

_ and is believed to be back in Philadelphia area.

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On Wednesday June 27, 2018 .in the AM and PM surveillance was conducted by
Philadelphia PD IDIS (P/0’s J. Press, C. Williams, M, Williams, W. Arnold) in the area of
various location connected with M, JONES, C. LUCY and vehicle associated with both,
resulting in negative results.

Officers check Taylor WOOD address at 203% S. Juniper Street Apt-301 for WOOD and
for WOOD’s Honda accord NJ registration G50- GBX, both negative results. Detective D.
Muraglia (NJSP) had the location at 907 Pasadena Dr, Somerdale NJ checked and found

~ that WOODs vehicle the Honda Accord was parked outside this location. (believed to be .

WOODs parents residences) .

n Wednesday July 11, 2018, at approximately * 9:30 PM, as result of electronic
illance revealed that LUCY’s. target cellular ene 213- 6605 was located at 1751
ster Street Philadelphia Pa Showing that this phone was still activated under target

‘number 213-425-6605 that is subscribed to LUCY.

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xhibit ©

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On Wednesday July 17, 2018 at- approximately 1:31 AM early morning, as result of |

electronic surveillance revealed that LUCY’s target cellular phone 213-425- 6605 was
located at 108 Federal Street: Bensalem Pa. Showing that this phone was activated under

target number 213-425- 6605.
On Wednesday July 17, 2018 members of Philadelphia PD IIS, New Jersey State Police
Fugitive & Gang Units, Bensalem Special Investigation Unit and Bensalem PD Uniform

Units went to 108. Federal Street Bensalem Pa a known ‘location believed to be where

JONES is living at this time. . Officers did go 108 Federal Street Bensalem Pa as results .

from New Jersey CDW Ping warrant (PEW-MER390 CDW-2018) on LUCY cellular

telephone # 213-425- 6605 that indicated that the cellular phone was being located inside

- 108 Federal Street, Bensalem Pa upper ‘floor towards the rear of the property (NOTE:

LUCY and the target phone was located in the 3nd floor rear bedroom of this property).

Officers did have New Jersey Arrest Warrant # 0412- W-2018- 001437 for LUCY for
narcotic violation: NOTE: Based on information réceived by TFO D. Keddie, that JONES
may now be operation a Mercedes Benz SUV no longer the white Buick. P/O M. Williams

¢ observed that this vehicle was parked in the rear of 108 Federal Street. At this time officers

54.

believed that both JONES and LUCY were inside 108 Federal Street.

At approximately 9:30 AM, members of Bensalem Special Investigation, Bensalem PD
Uniform, Patrol, Corporal J, Gansky (Bensalem PD) and Philadelphia PD IDIS Detective
Joseph George and made contact with JONES at 108 Federal Street. Once JONES ©
answered the door J ONES was advised by Cpl J. Gansky that they were investigating a9l11

~ call as a ruse to keep J ONES catm so JONES didn’t know that officers were looking for

_ LUCY with arrest warrant at’ this time. JONES did appear to be suspicious, nervous,

avoided eye contact, agitated and informed officers that he was in the residence alone and

that nobody in the residence contacted 911. JONES did let the officers enter the property,

. Officers entered the residence in effort to locate LUCY for the active arrest warrant and

the indication from the ping equipment that LUCYs phone was inside this residence upper

floors rear. JONES was advised that officers needed to check the residence in regard to any.
other persons inside this location. J ONES did agreed to let officer’s check the residence
and officers followed JONES up to the 2™ story.as JONES did became more aggravated
and JONES was advised to sit on the couch on the 2™ floor living room/kitehen area: ‘but

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xhibit

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- Ben. “4 Poli — 18-21239
Bensalem Township Police ra7ia018
Incident Report Form Drug Violation

_ Temp: 75 Degrees
Humidity: 81%
Season: Summer

Surfaces: concrete

eat aos
Title ‘

SUPPLEMENTAL
Narrative Created By / Creatlon Date 07/25/2018 | Narrative Updated By/ Update On 07/30/2018
JOSEPH GANSKY 36413 . JOSEPH GANSKY-36413 - ---~-.- --——

Narrative Approved By / Approved Date

Report prepared by Cpl. Gansky #22107

On 7/17/1 8,1 assisted SIU and Philly/NJ police in an attempt to serve an active arrest warrant for Carol
Lucy. Philly/NJ police had a warrant for Lucy for possession with intent to deliver. The Philly/NJ officers had
credible information that Lucy was at the residence at 108 Federal Street in Bensalem. ‘

Upon arrival, | approached the door and began to ringing the door bell. For a few moments, | did not
observe any movement inside. While ringing the door bell, Officer Fox stated that she observed movement
from the third floor window of the residence.

A few moments later, | observed a black male approach-the door. He was identified as Mack Jones. As
Jones answered the door, | identified myself as a Bensalem Police Officer and asked if | could come in fo |
speak with him for a second. Mr. Jones stated yes and we entered into the front foyer of the residence.

l advised Mr. Jones that we were at the residence for a 9141 hang up call and wanted to make sure
everyone in the house was ok. Due to officer safety concerns, | felt that this would be a routine call that

should not cause the owner to be surprised that the police were at the door. In wanted subject cases, it has
worked where a subtly approach has put the offender at ease because they believe the police are not there
for them. Immediately upon speaking with Mr. Jones, he was extremely nervous.

While speaking with Jones, | asked. him if there was anyone else in the residence. Immediately while
speaking with Jones, he appeared to be suspicious. He avoided making eye contact with me and would not
answer the question if he was alone. Mr. Jones was so nervous that he was unable to complete a statement
before making another statement. Asking what is going on and what is this all about. | explained to Mr. Jones
again that we just wanted to make sure everyone was ok. Mr. Jones again began to become agitated and
would avoid the question of are you alone in the house. .

Based on this interaction with Mr. Jones, and my training and experience, it was clear that Mr Jones was
being deceptive in his answers. We followed Mr. Jones up to the second floor landing. While there in plain
view | observed a money counter. The other officers on scene checked the residence for Ms. Jones.

A search warrant was applied for the residence. See supplemental for further details.

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Tite
| SUPPLEMENT
4§-21239 07/17/2018 APPROVED BY: MICHAEL RIHL MO23036A PAGE 11

IRF 1.6 APPROV:i:D ON: 08/21/2018

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PROBABLE CAUSE BELIEF IS BASED UPON THE FOLLOWING FACTS AND CIRCUMSTANCES:

Commionwealth of Pennsylvania 9 AFFIDAVIT OF
: pe Neel Sse, PROBABLE CAUSE
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DocketNumber=S=S*é~<C*<“<S*~S lice Inc song -WarrantContol’.
(issulng Authorlty): : Number: 1 821299 Number. 18-21239 (SW1).

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Throughout this investigation, itwas learned that Jones was a main supplier of heroin/Fentanyl, and utilized

As a result of this investigation, on June 28, 20] 8, the Honorable Kelly, Judicial Superior Court, of the
Camden County Superior Court in New Jersey approved an arrest warrant for Caro! Lucy fox first degree
felony charges including the distribution of heroin and Fentanyl (over five ounces), distribution of
heroin/Fentany! within a school zone, and possession of a controlled substance, These charges were
reflected on a covert warrant, later assigned warrant number 0412-W-2018-00 1437, and entered tnto NCIC
with full extradition to New Jersey on the authority of Deputy Attorney General Katherine Vforris. Due to
Lucy's frequent travel out of the country and to other states, a subsequent CDW ping warrant (PEW-MER
390 CD W-2018) was completed and approved by Judge Warshaw, Judicial Superior Court, presiding Judge
of the Mercer County Superior Court, for the ping tracking uf Luey’s cell phone, which she utilized during
the narcotics investigation.

On July 17, 2018, Lucy was pinged at 108 Federal Avenue, Bensalem, Bucks County, PA; 19020, a known
location frequented by Jones during the narcatics investigation, The New Jersey State Police F ugitive Unit,
New Jersey State Police Gang Unit, DEA Mayle Shade, Philadelphia Police Department Intensive Drug
Investigative Squad and Bensalem Township Police Department subsequently met on July 17, 2018, to

Prd

effect the arrest of Lucy at 108 Federal Avenue, Bensalem, Bucks County, PA, 19020, =

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mo, Tee

lOn July 17, 2018 Officer Grayo and Detective Tobin responded to 19% Federal Avent? RS

;CSunty, Pennsyivarua 19020 with other memvers or Bensalem Township Polie and Qhginbers ofBbiladelphia
Police IDIS, New Jersey State Police Anti-Gang Unit and DEA Group 51. Lucy's NéyJersey: watrant,
0412-W-2018-001437, remained outstanding. , bc zu un

‘ roe mm
Members of Bensalem Special Investigations Unit along with Philadelphia Police IDIS-Officer Ioseph
George #8043made contact with Jones at 108 Federal Avenue, Bensalem, Bucks Courity, vibert he answered
the door. Jongs was advised officers were investigating an abandoned 911 call-as a ruse to léep him calm.
Jones, who appeared nervous, stated that he was in the residence alone and that nobody in thé residence.

effort to locate. Lucy for hér warrant as the ping data placed her there.

Jones became more aggravated as-he walked up to the second story; and his pulse dould be observed
pounding in his neck. Jones was advised to-sit-on the couch on the second floor.living toom/ kitchen area.
Upon entry onto the second floor, Officer Grayo.observed.a money counter plugged in on the kitchen
counter along with two razor blades with a white.substance and a Ziploc freezer bag sealer next to them.
Also in a kitchen walk in closet Officer Grayo observed containers commonly used to package-narcotics and
4 long rifle which appeared to be an assault rifle. Based ou Officar Grayo's tréinitig, experience; and

is typically a cash-only business that results iti ap. abundance of bills, and the Ziploc freezer bag sealers to
seal the narcotics in bags soa K-9 dog would nat be able:to detect the odor or to seal bulk currency fie
transport. Also razor blades are commonly used to out or mix the natcotios, sometimes with of agate
| powder. sO efSovt
» THE AFFIANT, BEING DULY SWORN AGCORDING TO LAW, DEPOSE AND SAY THAT THE FACTS SET FOR
ARE TRUE AND CORRECT TO THE BEST OF MY KNOWLEDGE, INFORMATION AND BELIEF, | certi
the proviglons of the Case Racords Public Access Polley. of tha Unified Judigtal System of Pennsy|
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vatious individuals, including Lucy, to. deliver his drags to New Jersey and throughouit the Philadelphia area,

contacted 911. Bensalern Police, Philadelphia IDIS and New Jersey State Police entered the residence in an j
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education, he knows drug dealers commonly use money counters for large sums of cash, as drug trafficking -

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